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                      IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF PENNSYLVANIA

WILLIAM RICHARDS                                   CIVIL ACTION

                      v.                           N0.18-1810

WALLYPARK PENNSYLVANIA, LLC,
et al

                                             ORDER

       AND NOW, this       ih   day of May 2018, it is ORDERED an INITIAL PRETRIAL

CONFERENCE shall be held on Tuesday, May 29, 2018 at 9:30 A.M., in Courtroom 6B, United

States Courthouse, 601 Market Street, Philadelphia, Pennsylvania.

       IT IS FURTHER ORDERED:

       1.      The parties shall engage in early, ongoing and meaningful discovery planning

proportional to the needs of your case including: preparing a stipulation of undisputed facts for the

Court's review at the Initial Pretrial Conference, addressing the need for a F.R.E. 502 Order and

initially focusing discovery efforts on information relevant to the most important issues available

from the most easily accessible sources;

       2.      The parties shall exchange the required initial disclosures under Fed. R. Civ. P.

26(a) within seven (7) days of the date of this Order;

       3.      The discovery period, regardless of a pen9ing motion, begins with this Order and

the parties shall exchange written discovery requests immediately;

       4.      After consultation with counsel for all parties, Plaintiff's counsel shall complete

and file with the Clerk the required Report of the Rule 26 (f) Meeting incorporating, at a minimum,

all the information required in this Court's form Rule 26(f) Report (found on the Court website) on

or before Wednesday, May 23, 2018;
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       5.      Lead trial counsel is required to appear at the conference. If trial counsel is on trial

in another matter, an attorney in his or her office who is thoroughly familiar with this case is

required to appear at the conference, and will then be designated as lead trial counsel.

       6.      Lead trial counsel shall have addressed settlement with all parties and be prepared

to discuss settlement, including authority from the clients to settle; and

       7.      Counsel and all parties must be familiar with this Court's Policies and Procedures

at www.paed.uscourts.gov.




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